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                                 UNITED STATES DISTRICT COURT
                                  MIDDLE DISTRICT OF FLORIDA

                                  CASE NO.: 6:15-cv-00936-PGB-DAB
   JACQUELYN JOHNSTON,

                  Plaintiff,
   v.

   GARY S. BORDERS, individually and
   in his official capacity as the Sheriff
   of Lake County, Florida, and JENNIFER
   FERGUSON,

          Defendants.
                              /
                  AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL

          Plaintiff, Jacquelyn Johnston (“Johnston” or “Plaintiff”), by and through her

   undersigned counsel, sues Defendants, Gary S. Borders, individually and in his official

   capacity as the Sheriff of Lake County, Florida (“Borders”), and Jennifer Ferguson

   (“Ferguson”) (collectively “Defendants”) and in support thereof states the following:

                    NATURE OF THE CLAIMS, JURISDICTION, AND VENUE

          1.      This is an action for monetary damages pursuant to 42 U.S.C. §1983

   (hereinafter “1983”); 42 U.S.C. §1985, 42 U.S.C. §1986, common law Defamation by

   Implication; Defamation (libel and slander); and Defamation per se (libel per se and slander

   per se).

          2.      Plaintiff invokes the federal question and civil rights jurisdiction of this Court

   pursuant to 28 U.S.C. §§1331 and 1343(a)(3) and (4). Plaintiff also invokes this Court’s

   supplemental jurisdiction over her state law claims that arise from the same nucleus of

   operative facts as the federal claims alleged herein pursuant to 28 U.S.C. §1367(a).
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         3.       Venue for this action lies in the Middle District of Florida pursuant to 28 U.S.C.

   §1391(b) and the actions upon which the matter are based took place in Lake County, Florida.

                                    PROCEDURAL BACKGROUND

         4.       Plaintiff has complied with all conditions precedent to filing this action by

   sending certified return receipt notice of intent to sue in tort to Borders and the Department of

   Financial Services pursuant to Florida’s Waiver of Sovereign Immunity law, Fla. Stat. §768.28,

   a copy of which is attached hereto as COMPOSITE EXHIBIT “A” and made a part hereof

   along with the return receipts (“Notice”).

         5.       Borders has not made a final disposition of Plaintiff’s claim within six (6)

   months of the date he was provided with the attached Notice.

         6.       Accordingly, Plaintiff’s claims are deemed denied for the purposes of the notice

   requirements imposed by Fla. Stat. §768.28.

                                                 PARTIES

         7.       Johnston was, and still is, a resident of Miami-Dade County, Florida at all times

   pertinent hereto, is over the age of eighteen (18) and otherwise sui juris.

         8.       Borders is the elected Sheriff of Lake County, Florida whose office is located

   at 360 W. Ruby Street, Tavares, Florida 32778.

         9.       Ferguson works as the current supervisor of Lake County Sheriff’s Office

   Animal Services (“LCSOAS”) and is a resident of Seminole County.

         10.      At all times pertinent hereto, Defendants are both over the age of eighteen (18)

   and otherwise sui juris.

         11.      At all times pertinent hereto, LCSOAS was under the control of Borders.



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               GENERAL FACTUAL ALLEGATIONS COMMON TO ALL COUNTS

         12.      On or about July 28, 2014, LCSO sought out Johnston and asked her to apply

   for the position of Director of LCSOAS.

         13.      On October 1, 2014, after being hired by Borders, Johnston commenced her

   position as the Director of LCSOAS.

         14.      On October 10, 2014, just nine (9) days after Johnston took over as the Director

   of LCSOAS, Borders terminated Johnston.

         15.      Within minutes of the termination, at the direction of Borders, Lake County

   Sheriff’s Office (“LCSO”) released a statement surrounding the termination of Johnston’s

   employment as the Director of LCSOAS.

         16.      Borders announced Johnston was terminated after LCSO learned that on

   October 9, 2014, several animals at the shelter were euthanized despite an alleged policy

   wherein euthanizing animals was only to be a last resort.

         17.      Borders is quoted as saying: “This decision was made on our watch and we

   have taken swift action to ensure it does not happen again.” (“Borders First Statement”)

         18.      On October 11, 2014, upon information and belief at the authorization and

   behest of Borders, LCSO released the following account of the events surrounding the

   termination via it’s spokesman, Sgt. Jim Vachon:

                  Our administration was notified by a volunteer at Animal Services that
                  up to 20 animals had been euthanized. Law enforcement, especially,
                  has a healthy respect for animals and what they can contribute, so it’s a
                  tough thing to hear. A certain number of them were sick or injured
                  which would be in our policy. But certainly not all of them.

   (“Borders Second Statement”)



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         19.      On October 13, 2014, upon information and belief at the authorization and

   behest of Borders, Lt. John Herrell disseminated the following information to the media

   surrounding the termination of Johnston:

                  Johnston was terminated after LCSO learned that 147 animals were
                  euthanized during her time as the Director of LCSOAS, including two
                  (2) cats and eighteen (18) dogs in one day. All but six of those animals
                  were put down for legitimate reason including, but not limited to,
                  aggression, sickness and injuries. Some of the animals were put down
                  prematurely because the shelter was not yet at capacity even though
                  Johnston gave the reason for euthanizing the animals as limited space.
                  Johnston did not exhaust all the resources to save the animals and
                  exercised bad judgment. Borders wants the shelter to be as close to a
                  no-kill shelter as possible. Because the killings happened on Johnston’s
                  watch, it was her responsibility.       Johnston made a bad call and
                  euthanized some dogs that could have made good pets for people.
                  That’s why we took the action we did, to make sure something like this
                  doesn’t happen again.

   (“Borders Third Statement”)

         20.      Even if the numbers released by LCSO are accurate, these numbers were

   released without being put into perspective.

         21.      The numbers may sound shocking to the general public, but there is no way to

   know, based on the information released by LCSO, how those numbers compare to the periods

   of time before Johnston arrived or after Johnston was terminated.

         22.      These press releases were intended to destroy Johnston’s reputation and to

   bolster the reputation of Borders in his takeover of LCSOAS.

         23.      Following the release of the aforementioned press releases, news syndicates

   from all over Florida, Pittsburgh, Atlanta, New York, and as far away as London, picked up

   this story and published the numbers and circumstances surrounding the termination of

   Johnston’s employment along with her photograph.


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         24.      The Examiner, a national internet publication, also picked up the story.

         25.      Immediately following, comments and death threats were posted all over the

   internet regarding Johnston, including, but not limited to: calling for her euthanasia, removal

   of any children or animals in her care, lighting her on fire, sodomizing her to death, murdering

   her, criminally prosecuting her for animal cruelty, etc.

         26.      Johnston received comments and death threats on her own social media page

   on Facebook.

         27.      Borders’ publishing false statements and statistics without a point of reference

   and with the intent to cause harm, irreparably ruined Johnston’s career and endangered her and

   her family.

         28.      Johnston cannot find a job ANYWHERE, let alone in the animal services field,

   despite her qualifications, training, and experience because of the selective information

   released surrounding the termination of her employment.

         29.      Despite her attempts to switch career fields, Johnston is still unable to make a

   sufficient living to support herself and her family.

         30.      On October 14, 2014, Johnston, via counsel, reached out to LCSO after the

   various damning press releases, wherein she vehemently denied the allegations put forth in the

   media and requested a meeting so that a resolution could be reached.

         31.      LCSO did not directly respond to Johnston, ever, and instead, released another

   statement that because Johnston was within a one-year probationary period, she could be

   terminated for any reason that fails to meet the sheriff’s expectations.




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         32.        At no time, did LCSO offer or afford Johnston the right to a name-clearing

   hearing.

                       The Events of October 9, 2014 that Led to the Termination

          33.       Ferguson, the Kennel Supervisor, approached Johnston on the morning of

   October 9, 2014, a few hours before Johnston left to attend her Master’s Class in Miami,

   Florida.

          34.       At all times pertinent thereto, Johnston instructed Ferguson to follow policy as

   it existed prior to her arrival, as long as it was in accordance with Florida law, especially the

   pre-existing policy of LCSOAS regarding making space for new intake animals.

          35.       There were various witnesses to Johnston’s specific instructions to Ferguson to

   follow policy, including, but not limited to, Amber Teeter (“Teeter”) and Diane Hagan

   (“Hagan”).

          36.       Captain Todd Luce (“Luce”), one of Johnston’s supervisors, instructed

   Johnston to ask Ferguson about current LCSOAS policy until Johnston was up to speed, as the

   shelter had been without a real director since March 2014.

          37.       Ferguson lied to Johnston about the pre-existing LCSOAS policy, that had been

   in effect prior to Johnston’s arrival, for making space for new intake animals for her own

   personal gain.

          38.       Johnston NEVER authorized Ferguson to do anything other than follow the

   pre-existing LCSOAS policy for making space for new intake animals and to record outcomes

   truthfully and accurately.




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          39.     Johnston specifically asked Ferguson if all rescues, volunteers, and fosters had

   been contacted before any animals were considered for euthanasia, to which Ferguson said she

   had contacted all rescues, volunteers, and fosters and that all fosters were full.

          40.     Johnston then directed Ferguson to post a public call for more volunteers and

   foster homes on the Lake County Sheriff’s Animal Services Facebook page.

          41.     Johnston asked Ferguson, again, what the policy was when space is needed and

   Ferguson replied that space is made by euthanizing dogs from the isolation area that had not

   yet been posted as adoptable or made available for public viewing.

          42.     Johnston asked Ferguson how many of the dogs from the isolation area had

   never been seen by the public and had behavioral issues to which Ferguson replied only one

   (1).

          43.     Johnston was particularly concerned since many of the dogs on the adoption

   floor had been in their cages for over six (6) weeks, and the dogs in the isolation building had

   only been in the shelter for five (5) days.

          44.     Johnston instructed Ferguson to first only euthanize dogs that were aggressive

   if space was needed per the pre-existing LCSOAS policy prior to the arrival of Johnston.

          45.     Ferguson advised Johnston that more space was needed because dogs were

   being held in outdoor kennels without shade due to lack of indoor kennels.

          46.     Based on the circumstances as conveyed to Johnston, Johnston agreed that

   under those specific, dangerously hot conditions, space needed to be created for the new intake

   animals.




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           47.       Johnston once again instructed Ferguson to follow the pre-existing LCSOAS

   policy, that had been in effect prior to Johnston’s arrival, for making space for new intake

   animals and that Johnston would actively work to take action so that this situation would not

   arise again in the future.

           48.       Johnston advised Ferguson in the form of a reprimand that in Ferguson’s

   capacity as kennel supervisor, Ferguson’s job was to manage the flow of animals and make the

   appropriate accommodations utilizing shelter resources so that a “space crisis” could be

   avoided at all times, including, but not limited to, constantly reaching out to rescues, fosters,

   and volunteers for their assistance, as opposed to only reaching out when a “space crisis” had

   already occurred.

           49.       This conversation between Johnston and Ferguson was overheard by at least

   two (2) individuals, Teeter and Hagan, who can corroborate that Johnston demanded Ferguson

   on several occasions to follow the policies that were put in place prior to Johnston’s arrival for

   the time being.

           50.       Ferguson asked Johnston how Ferguson should outcome the euthanized animals

   in the computer system to which Johnston indicated that the outcomes should be recorded

   truthfully because Johnston was acutely aware that it is a misdemeanor and in violation of

   Florida Statutes §§823.15 and 839.13 to falsify county records.

           51.       After Johnston left LCSOAS for the day to go to Miami to attend class,

   Ferguson went completely rogue, defied Johnston’s instructions, pulled far more animals than

   necessary, and euthanized more animals than needed.




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          52.     Upon information and belief, Ferguson physically held each of the dogs during

   the euthanasia procedure.

          53.     Ferguson informed Johnston space was needed for approximately eight (8)

   dogs, but Ferguson pulled one hundred twenty five percent (125%) more dogs than necessary

   and euthanized all of them.

          54.     Ferguson reported to Johnston that in total, from isolation and the adoption

   floor, five to six (5-6) of the dogs euthanized were aggressive dogs.

          55.     To be clear, Johnston’s instructions to Ferguson were to pull the aggressive

   dogs first and outcome them truthfully which, for the aggressive dogs, the proper outcome

   would have been behavior.

          56.     Instead, upon information and belief, Ferguson chose to outcome all the animals

   euthanized on October 9, 2014 “for space” and falsified more county records.

          57.      In light of the egregious accusations hurled against Johnston, it is clear that

   prior to Johnston’s arrival as the shelter director, the recorded outcome for many animals was

   not done truthfully and instead recorded to paint the LCSO and Borders in the most favorable

   way to the general public.

          58.     Ferguson further broke directive by not following the long standing procedure

   that requires four (4) initials on every kennel card prior to euthanasia, two (2) from supervisors

   and two (2) from other employees.

          59.     Johnston did not sign the kennel cards or order these animals to be euthanized

   and there were insufficient signatures to allow for the acts of euthanasia to have occurred.




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          60.     Pursuant to the directives of Luce and Major Wayne Longo (“Longo”),

   Johnston ordered Ferguson to follow the pre-existing LCSOAS policy as it was prior to

   October 1, 2014, until such time as the policy was improved by Johnston.

          61.     Ferguson was well aware of what the policy was because she was the interim

   director prior to the official Sheriff’s takeover of LCSOAS and Johnston being hired.

          62.     At the time of this terrible and tragic event, Johnston’s authority was completely

   usurped because she did not even have her own access to the shelter database and could only

   assess the situation through the representations Ferguson.

          63.     Ferguson also blatantly lied to Johnston by failing to alert Johnston that a

   handshake agreement had been made with the volunteers to never euthanize dogs from the

   adoption floor without first asking the volunteers for help.

          64.     Johnston would have had no way of knowing this and had been told on multiple

   occasions by her direct supervisor, Luce, to defer such questions to Ferguson.

          65.     Most importantly, Johnston was not even in Lake County when the animals

   were euthanized.

          66.     However, LCSO has led the public to believe that Johnston personally

   euthanized these animals when that was an impossibility.

          67.     At the time of Ferguson’s unilateral, inappropriate decisions, Johnston was on

   her way to Miami to attend classes toward her Master’s Degree, an arrangement that had been

   prearranged with the Sheriff’s Office prior to her being hired.




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                                          The Termination

            68.   Johnston was called into work at 5:30 p.m. on October 10, 2014 at which time

   she gave the aforementioned account of events.

            69.   Longo placed her on the spot and asked how she was going to survive this

   politically.

            70.   Her first response was for LCSO and LCSOAS to be truthful and admit that

   shelter records have been falsified for years and that her efforts were in the best interest of the

   pets by exposing the “no kill” game of keeping up to forty (40) dogs out of the public eye.

            71.   The “no kill” game at LCSOAS was, and still is, keeping up to forty (40) dogs

   out of the public eye in an isolation building and then killing the dogs in isolation when space

   was/is needed after a purported stray hold for these dogs has expired, and then recording the

   outcome for anything other than space whether truthful or not.

            72.   This deceitful practice allowed LCSOAS to improperly tout itself to the general

   public that LCSOAS is a “no kill” shelter where adoptable animals are not euthanized for

   space.

            73.   Longo indicated that being truthful to the public would never be permitted in

   the situation by the LCSO, leaving the only alternative of firing Johnston and allowing her to

   take the fall for recording the animals’ outcome on October 9, 2014 for space.

            74.   Borders had just taken over LCSOAS on October 1, 2014 from the control of

   the Lake County Commissioners (“LCC”).




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           75.      If LCSO had allowed Johnston to be truthful to the public about the long

   standing practice of falsification of shelter euthanasia statistics, then LCSO would have

   admitted that policies in place by LCC, were in place with the intent to deceive the public.

           76.      LCSO had not yet contravened the LCC policies and was continuing to deceive

   the public as its predecessor had and endorsed the practice of deceiving the public.

           77.      Longo revealed to Johnston that Ferguson came to him crying, telling him that

   she did not want to kill those animals and that she was “ordered” to do so by Johnston

   (“Ferguson’s Statement”)1. Ferguson’s Statement was a flat out, blatant lie since Johnston

   specifically instructed Ferguson to follow the pre-existing LCSOAS policy on making space

   for new intake animals.

           78.      At no time, did Johnston approve any list of pets to be killed.

           79.      Without giving specific names, Longo also informed Johnston that LCSO

   received an influx of telephone calls from volunteers and members of the general public upset

   that Johnston had ordered Ferguson to euthanize adoptable animals. Despite Johnston’s

   repeated demands for names of individuals, Longo refused to provide any such names.

           80.      Upon information and belief, the only way that volunteers and members of the

   general public could learn Ferguson’s version of events is if Ferguson herself gave Ferguson’s

   Statement to at least one unnamed volunteer or member of the general public.2

           81.      No investigation was ever conducted by LCSO regarding Johnston’s version of

   the events because it was predetermined by Borders that Johnston would take the fall.


   1
    Borders First, Second, and Third Statements and Ferguson’s Statement are collectively referred to hereinafter
   as “Defendants’ Statements.”




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          82.     To be clear and as detailed below, Ferguson made Ferguson’s Statement in bad

   faith since she knew the statement was not true.

          83.     Ferguson, acting outside the scope of her employment and in contravention of

   the alleged goals of LCSO, orchestrated the events of October 9, 2014 with the malicious

   purpose of getting Johnston terminated.

                                  Motivation for Ferguson to Lie

          84.     Ferguson was the interim director until Johnston was hired as the Director, a

   position for which Ferguson also applied.

          85.     In addition to the prestige of the title of Director, there was also a substantial

   annual pay increase of approximately $26,000.00 that Ferguson would have received if she

   had been selected as the Director.

          86.     Understandably, Ferguson was bitter at Johnston from the beginning and

   challenged every directive given by Johnston.

          87.     Ferguson waited until the first day Johnston had to leave work early for class to

   carry out the plan to get Johnston fired.

          88.     On Johnston’s first day as Director, Johnston specifically asked Longo and

   Luce if there was any one thing she was to focus on immediately and she was told no.

          89.     Luce and Longo told Johnston to take the first couple of weeks to get a handle

   on things and then begin making recommendations and necessary changes.

          90.     Longo instructed Johnston to clean things up so that the shelter would be in

   compliance with both the law and recognized shelter standards.




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           91.     Upon Johnston taking her position as Director, it became obvious that Ferguson

   was running LCSOAS incompetently, including allowing the euthanizing of animals without

   anesthesia, via a heart stick.

           92.     On Johnston’s first full day at the shelter, upon learning that under Ferguson’s

   supervision the staff had been using intracardiac injections without anesthesia to euthanize the

   animals, Johnston gave an immediate order that euthanizing animals in this manner was to stop

   immediately because it was not only cruel and inhumane, but contrary to Florida law.

           93.     Upon learning that Ferguson was feeding moldy food to the animals prior to the

   arrival of Johnston, in front of Lt. Jason Kerley (“Kerley”), Johnston instructed Ferguson to

   order new food, stop feeding moldy food to the animals immediately, and to discard the moldy

   food to ensure that no more moldy food would be fed to any animals at LCSOAS.

           94.     Approximately two (2) days later, when Johnston asked Lorraine (Honey)

   Brown, who was in charge of procurement of food at LCSOAS, about the new shipment of

   food, Johnston learned that Ferguson ignored her directive and was still feeding moldy food to

   the animals.

           95.     Johnston, again, directed Ferguson to order new food and Ferguson refused.

           96.     Realizing that Ferguson was continuously ignoring all directives given by

   Johnston, Johnston ultimately made the arrangements to get food that was mold free.

           97.     Johnston and Kerley witnessed one dog named “Socks,” housed on the adoption

   floor, become uncontrollably aggressive and then go into full blown seizures, leading

   ultimately, to his being euthanized because of the inexplicable, sudden onset behavior.




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         98.      After discussing the situation of “Socks” with staff veterinarian, Dr. Julie-Ann

   Corda (“Corda”), Johnston learned that it is likely that mold ingestion and toxicity were the

   cause of the rapid decline of the animal.

         99.      Immediately upon Johnston’s arrival at LCSOAS, Johnston recognized the

   following, disturbing issues because the minimum standards of care for shelter animals were

   not met:

          a.      Dogs were housed in cages that did not meet minimum space requirements;

          b.      The database used to track animal movement around the shelter was inaccurate,

          making it impossible to crosscheck actual facts with the information contained therein;

          c.      Any and all felines (kittens included) alleged to have a behavioral issue or

          alleged to be feral were all placed in a dog holding kennel together, left to fight over

          space and food;

          d.      Adoptable cats were being kept thirty (30) to a dog cage and inventory was not

          conducted regularly;

          e.      Sick cats and healthy cats were being kept together;

          f.      Cats were not being tested for contagious feline diseases prior to being housed

          in these overcrowded cages; and

          g.      The controlled substance log was kept in pencil and on loose leaf sheets, failing

          to meet the minimum record keeping standards of controlled substances as imposed by

          the Food and Drug Administration.

          100.    The biggest scam Johnston attempted to halt, a scam of which Ferguson and

   Borders are giant proponents, was the extra building of “isolation” dogs that the public and



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   volunteers were never permitted to view, also referred to herein above as the “no kill” game

   played by LCSOAS.

           101.   LCSO and LCSOAS continued to deceive the public by keeping approximately

   eighty-eight (88) dogs in “permanent” adoption areas, but never released the pictures of up to

   forty (40) dogs kept in the “isolation” area.

           102.   The forty (40) isolation dogs could be euthanized for any reason as determined

   by Ferguson to deceive the public and make it appear as though no “adoptable” dogs were

   being euthanized.

           103.   The forty (40) isolation dogs were never available for adoption to the public,

   their pictures never posted online for possible owner identification and were permitted to be

   killed on their fifth (5th) day in the shelter, under Ferguson’s unsupported and improper

   interpretation of County Ordinance Section 4-9(b), as space was needed.

           104.   The recorded outcome for any of the forty (40) isolation dogs was for any

   reason, arbitrarily determined by Ferguson, truthful or otherwise, for virtually anything except

   for “space.”

           105.   County Ordinance Section 4-9 requires that LCSOAS make reasonable efforts

   to ascertain, identify and/or notify owners of dogs being housed at LCSOAS, which Ordinance

   has not been followed because LCSOAS conceals the forty (40) isolation dogs from public

   view.

           106.   Concealing the forty (40) isolation dogs within the isolation building gave

   LCSOAS a pool of animals to pull from whenever space was needed and allowed LCSOAS to

   record the outcome of the animals for whatever false reasons LCSOAS invented.



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            107.   Due to LCSOAS’ concealment, the forty (40) isolation dogs were never seen

   by the public, and therefore no one could contest their behavior or condition.

            108.   In reality, the animals kept in the isolation building were strays that were held

   for five (5) days and then euthanized as soon as space was needed.

            109.   Johnston specifically ordered Ms. Ferguson not to pull the isolation animals for

   space when the animals’ existence was not made known to the public.

            110.   Ferguson also wanted to euthanize a chocolate lab/pit bull mix, identified as

   #152178, that had been hit by a car, while Johnston wanted the dog to have a chance to mend

   and get acclimated to her surroundings before a behavioral and medical determination was

   made as to the adoptability of the animal.

            111.   #152178 was never posted online, did not have a picture in the database, was

   not available for view by the public and was never even given a name.

            112.   Ferguson pressed regularly to kill #152178 and made her disdain for Johnston

   and Johnston’s orders and decisions clearly known by attempting to circumvent Johnston’s

   directive by unnecessarily discussing the case with Corda in an effort to overturn Johnston’s

   order.

            113.   When dealing with cats, LCSOAS relies heavily upon County Ordinance

   Section 4-9(c), which does not preclude anyone from falsely declaring an animal feral and then

   euthanizing said animal accordingly (“Feral animal policy”).

            114.   Johnston observed friendly cats and young kittens in the overcrowded dog runs

   that were used to house feral cats prior to their demise.




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          115.    The Feral animal policy existed well before Johnston’s arrival and was on the

   top of Johnston’s list of policies to change because of its potential for abuse.

          116.    This need for immediate change was made known to Kerley, Luce and Longo.

          117.    As par for the course, Ferguson had no problems with the Feral animal policy

   and relied heavily upon it when she unilaterally decided to euthanize any living being.

       Conspiracy between Borders and Ferguson to Deprive Johnston of Civil Rights

          118.    Ferguson is still at LCSOAS and is once again the interim director running

   things without any oversight, free to kill any and all at animals within in her reach.

          119.    Ferguson orchestrated the events of October 9, 2014 in an effort to have

   Johnston’s employment terminated, in the hopes that Ferguson would officially be hired as the

   Director of LCSOAS which would also result in a pay increase.

          120.    Borders and LCSO did not investigate the claims made by Ferguson and merely

   accepted them as true so that they could use Johnston as a political scapegoat in an effort to

   bolster the public’s faith in Borders and LCSO’s abilities to properly run LCSOAS.

          121.    Borders is also up for re-election in 2016, so anything he can do to gain the

   increased trust of the general public, helps him personally and his chances for winning re-

   election.

          122.    Borders and LCSO kept Ferguson as an employee of LCSO and did not

   terminate the employment of Ferguson for being incompetent in her job performance, for being

   completely insubordinate to Johnston, or for lying about the need for space in an effort to

   orchestrate the events that ultimately led to the termination of Johnston’s employment.




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           123.    On October 9, 2014, with Johnston on her way to Miami, Johnston deferred to

   Ferguson, the former interim director, to follow the pre-existing LCSOAS policy for making

   space for new intake animals when Ferguson personally and unnecessarily killed twenty (20)

   animals of her own accord.

           124.    The very next day, on October 10, 2014, Johnston’s employment was ultimately

   terminated for allegedly violating a “euthanasia policy” when Johnston was told to defer to

   Ferguson on LCSOAS policies until she could get up to speed.

           125.    However, there was no written euthanasia policy in place making euthanasia a

   last resort when creating space at LCSOAS for new animals; any claim of such a “policy” by

   Borders, was, and still is, simply lip service given to the public at large as a manipulation tactic

   to garner support.

           126.    Johnston personally believes euthanizing animals to make space should always

   be a last resort and that every effort possible should be made to give every animal a chance of

   live release.

           127.    Johnston is also a firm believer that county records must be maintained in

   accordance with the law, in a true and transparent manner.

           128.    All conditions precedent have been met prior to the filing of this action.

                            COUNT I—VIOLATION OF 42 U.S.C. § 1983
                        (Against Borders in his individual and official capacities)

          129.     Plaintiff repeats and realleges the allegations set forth above in paragraphs 1

   through 128 as if specifically set forth herein.

          130.     Borders personally, maliciously, and under color of state law deprived Plaintiff

   of her liberty interest in her good name, reputation, honor, and integrity without due process


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   of law afforded to her under the Fourteenth Amendment of the United States Constitution.

         131.     Johnston has a constitutionally protected liberty interest in remaining free of

   false, stigmatizing dissemination to the public in connection with her termination without

   receiving any meaningful opportunity to clear her name.

         132.     Johnston has a constitutionally protected liberty interest in living and working

   where she chooses in her chosen profession and to engage in the common occupations of life.

         133.     Borders personally, maliciously, and under color of state law made false

   statements of a stigmatizing nature to the public that caused permanent injury to Plaintiff

   depriving her of her ability to work and make a living in helping to support herself and her

   family.

         134.     Borders personally, maliciously, and under color of state law made false

   statements of a stigmatizing nature to the public in connection with Plaintiff’s termination as

   a LCSO employee.

         135.     LCSO is a governmental employer of which Borders is the sheriff.

         136.     Johnston was discharged without being afforded or informed of a meaningful

   opportunity to clear her name via a post-termination hearing.

         137.     To be afforded due process within the meaning of the Fourteenth Amendment

   of the Constitution of the United States, LCSO was required to provide an opportunity for a

   name-clearing hearing and had an affirmative duty to inform Johnston of such an opportunity.

         138.     This deprivation under color of state law is actionable under and may be

   redressed by 42 U.S.C. §1983.

         139.     Plaintiff is entitled to recover attorneys’ fees and costs under 42 U.S.C. §1988.



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         WHEREFORE, Plaintiff, Jacquelyn Johnston, respectfully requests this Court grant

   judgment in her favor:

                  (a)       awarding judgment against Defendants for special damages;

                  (b)       awarding judgment against Defendants for compensatory damages;

                  (c)       awarding judgment against Defendants for punitive damages;

                  (d)       awarding Plaintiff reasonable attorneys’ fees and costs; and

                  (e)       for all other and further relief this Court deem just and proper.

                                   COUNT II—SLANDER PER SE
                            INJURY TO PROFESSIONAL REPUTATION
                         (Against Ferguson and Borders in his official capacity)

         140.     Plaintiff repeats and realleges the allegations set forth above in paragraphs 1

   through 128 as if specifically set forth herein.

         141.     Defendants’ Statements and publications described herein concerned Plaintiff

   and were false.

         142.     Defendants’ Statements were widely published and not privileged in any

   manner.

         143.     Defendants’ Statements were made with reckless disregard of their truth or

   falsity and/or with malice.

         144.     Defendants’ Statements were slanderous per se because they injured Plaintiff’s

   professional reputation.

         145.     Defendants’ Statements forever falsely tainted and permanently damaged

   Plaintiff in the public perception.

         146.     Plaintiff is entitled to recover attorneys’ fees and costs under Florida Statute



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   §768.28.

         WHEREFORE, Plaintiff, Jacquelyn Johnston, respectfully requests this Court grant

   judgment in her favor:

                  (a)       awarding judgment against Defendants for compensatory damages;

                  (b)       awarding judgment against Defendants for punitive damages;

                  (c)       awarding Plaintiff reasonable attorneys’ fees and costs; and

                  (d)       for all other and further relief this Court deem just and proper.

                                       COUNT III—SLANDER
                         (Against Ferguson and Borders in his official capacity)

         147.     Plaintiff repeats and realleges the allegations set forth above in paragraphs 1

   through 128 as if specifically set forth herein.

         148.     Defendants’ Statements and publications described herein concerned Plaintiff

   and were false.

         149.     Defendants’ Statements were widely published and not privileged in any

   manner.

         150.     Defendants’ Statements were made with reckless disregard of their truth or

   falsity and/or with malice.

         151.     Defendants had no reasonable grounds for believing the truth of their

   statements.

         152.     Defendants’ Statements forever falsely tainted and permanently damaged

   Plaintiff in the public perception.

         153.     Plaintiff is entitled to recover attorneys’ fees and costs under Florida Statute

   §768.28.


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Case 6:15-cv-00936-PGB-DCI Document 23 Filed 09/11/15 Page 23 of 43 PageID 198




         WHEREFORE, Plaintiff, Jacquelyn Johnston, respectfully requests this Court grant

   judgment in her favor:

                  (a)       awarding judgment against Defendants for compensatory damages;

                  (b)       awarding judgment against Defendants for punitive damages;

                  (c)       awarding Plaintiff reasonable attorneys’ fees and costs; and

                  (d)       for all other and further relief this Court deem just and proper.

                                     COUNT IV—LIBEL PER SE
                            INJURY TO PROFESSIONAL REPUTATION
                         (Against Ferguson and Borders in his official capacity)

         154.     Plaintiff repeats and realleges the allegations set forth above in paragraphs 1

   through 128 as if specifically set forth herein.

         155.     Defendants’ Statements and publications described herein concerned Plaintiff

   and were false.

         156.     Defendants’ Statements were widely published and not privileged in any

   manner.

         157.     Defendants’ Statements were made with reckless disregard of their truth or

   falsity and/or with malice.

         158.     Defendants’ Statements were libelous per se because they injured Plaintiff’s

   professional reputation.

         159.     Defendants’ Statements forever falsely tainted and permanently damaged

   Plaintiff in the public perception.

         160.     Plaintiff is entitled to recover attorneys’ fees and costs under Florida Statute

   §768.28.



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         WHEREFORE, Plaintiff, Jacquelyn Johnston, respectfully requests this Court grant

   judgment in her favor:

                  (a)       awarding judgment against Defendants for compensatory damages;

                  (b)       awarding judgment against Defendants for punitive damages;

                  (c)       awarding Plaintiff reasonable attorneys’ fees and costs; and

                  (d)       for all other and further relief this Court deem just and proper.

                                         COUNT V—LIBEL
                         (Against Ferguson and Borders in his official capacity)

          161.    Plaintiff repeats and realleges the allegations set forth above in paragraphs 1

   through 128 as if specifically set forth herein.

          162.    Defendants’ Statements and publications described herein concerned Plaintiff

   and were false.

          163.    Defendants’ Statements were widely published and not privileged in any

   manner.

          164.    Defendants’ Statements were made with reckless disregard of their truth or

   falsity and/or with malice.

          165.    Defendants had no reasonable grounds for believing the truth of their

   statements.

          166.    Defendants’ Statements forever falsely tainted and permanently damaged

   Plaintiff in the public perception.

          167.    Plaintiff is entitled to recover attorneys’ fees and costs under Florida Statute §

   768.28.

         WHEREFORE, Plaintiff, Jacquelyn Johnston, respectfully requests this Court grant


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   judgment in her favor:

                  (a)       awarding judgment against Defendants for compensatory damages;

                  (b)       awarding judgment against Defendants for punitive damages;

                  (c)       awarding Plaintiff reasonable attorneys’ fees and costs; and

                  (d)       for all other and further relief this Court deem just and proper.

                            COUNT VI—DEFAMATION BY IMPLICATION
                               (Against Borders in his official capacity)

          168.    Plaintiff repeats and realleges the allegations set forth above in paragraphs 1

   through 128 as if specifically set forth herein.

          169.    Defendants have defamed Plaintiff by knowingly, intentionally, willfully,

   recklessly, or negligently publishing statements about the Plaintiff they knew or should have

   known to be false or misleading.

          170.    Defamation by implication is a cause of action that arises when one makes true

   statements, that are published, that defame an individual by creating a false impression from

   the face of the publication as a whole.

          171.    The statements made by the Defendants, if any were true, were published in

   such a way as to create a false impression of Plaintiff in the public perception.

          172.    The statements made by the Defendants, if any were true, were published in

   such a way as to mislead the public in its perception of the Plaintiff.

          173.    Defendants’ Statements were widely published and not privileged in any

   manner.

          174.    Defendants’ Statements forever falsely tainted and permanently damaged

   Plaintiff in the public perception.


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           175.    Plaintiff is entitled to recover attorneys’ fees and costs under Florida Statute

   §768.28.

          WHEREFORE, Plaintiff, Jacquelyn Johnston, respectfully requests this Court grant

   judgment in her favor:

                   (a)      awarding judgment against Defendants for compensatory damages;

                   (b)      awarding judgment against Defendants for punitive damages;

                   (c)      awarding Plaintiff reasonable attorneys’ fees and costs; and

                   (d)      for all other and further relief this Court deem just and proper.

                            COUNT VII— VIOLATION OF 42 U.S.C. § 1985
                                     (Against all Defendants)

           176.    Plaintiff repeats and realleges the allegations set forth above in paragraphs 1

   through 128 as if specifically set forth herein.

           177.    Defendants conspired to injure Plaintiff by ruining her professional reputation

   in making and publishing false statements regarding Plaintiff.

           178.    By destroying Plaintiff’s professional reputation, Defendants have deprived

   Plaintiff of her right to make a living.

           179.    Defendants made the false statements with malice and with reckless disregard

   for the truth or falsity of each statement.

           180.    Defendants’ statements forever falsely tainted and permanently damaged

   Plaintiff in the public perception.

           181.    Both Defendants have continued to act in furtherance of the conspiracy in

   continuing to make false statements and/or not correcting the falsity of the statements.

           182.    Plaintiff is entitled to recover attorneys’ fees and costs under 42 U.S.C. §1988.


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         WHEREFORE, Plaintiff, Jacquelyn Johnston, respectfully requests this Court grant

   judgment in her favor:

                  (a)       awarding judgment against Defendants for special damages;

                  (b)       awarding judgment against Defendants for compensatory damages;

                  (c)       awarding judgment against Defendants for punitive damages;

                  (d)       awarding Plaintiff reasonable attorneys’ fees and costs; and

                  (e)       for all other and further relief this Court deem just and proper.

                            COUNT VIII— VIOLATION OF 42 U.S.C. § 1986
                                      (Against all Defendants)

          183.    Plaintiff repeats and realleges the allegations set forth above in paragraphs 1

   through 128 as if specifically set forth herein.

          184.    As the conspirators, Defendants were aware of the conspiracy to injure

   Plaintiff’s professional reputation by defaming Plaintiff through their false statements.

          185.    At any time, Defendants could have stopped the conspiracy and chose not to.

          186.    Failing to stop the conspiracy has forever falsely tainted and permanently

   damaged Plaintiff in the public perception.

          187.    Plaintiff is entitled to recover attorneys’ fees and costs under 42 U.S.C. §1988.

         WHEREFORE, Plaintiff, Jacquelyn Johnston, respectfully requests this Court grant

   judgment in her favor:

                  (a)       awarding judgment against Defendants for special damages;

                  (b)       awarding judgment against Defendants for compensatory damages;

                  (c)       awarding judgment against Defendants for punitive damages;

                  (d)       awarding Plaintiff reasonable attorneys’ fees and costs; and


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                   (e)    for all other and further relief this Court deem just and proper.

                                     DEMAND FOR JURY TRIAL

           Pursuant to Fed. R. Civ. P. 38(b), Plaintiff respectfully demands a trial by jury for all

   issues so triable.

          Dated: August 31, 2015.                        Respectfully submitted,


                                                         By: /s/ Angelena M. Root
                                                                Angelena M. Root, Esq.
                                                                FBN: 101751
                                                                Angelena M. Root, P.A.
                                                                1931 Cordova Road, #303
                                                                Fort Lauderdale, Florida 33316
                                                                Ph: (954) 986-2101
                                                                Fax: (954) 212-0774
                                                                Email: amrootesq@gmail.com
                                  CERTIFICATE OF SERVICE
           I HEREBY CERTIFY that on September 11, 2015, the foregoing was filed with Court via

   CM/ECF and served via CM/ECF upon counsel for Defendants to Mark E. Levitt, Esq. at

   mlevitt@anblaw.com,                 kmaxson@anblaw.com,                   pjones@anblaw.com,

   trodriguez@anblaw.com and to Matthew Christian Neff, Esq. at mneff@anblaw.com.

                                                         By: /s/ Angelena M. Root
                                                                Angelena M. Root, Esq.




                                                  28
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                                    UNITED STATES DISTRICT COURT
                                     MIDDLE DISTRICT OF FLORIDA

                                    CASE NO.: 6: 15-cv-00936-PGB-DAB
     JACQEULYNJOHNSTON ,

                    Plaintiff,
     v.

     GARY S. BORDERS, individually and
     in rus official capacity as the Sheriff
     of Lake County, Florida, and JENNIFER
     FERGUSON,

             Defendants.
      ________________________1


                  VERIFICATION OF COMPLAlNT PURSUANT TO 28 U.S.C. §1746

             I, Jacquelyn Johnston, the above-named Plaintiff, hereby verify under penalty of

      perjury pursuant to 28 U.S .c. § 1746 that the facts alleged in the foregoing Complaint are true

      and correct to the best of my knowledge.

             This 31st day of August, 20 IS .




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I
Case 6:15-cv-00936-PGB-DCI Document 23 Filed 09/11/15 Page 30 of 43 PageID 205



                                     ANGELENA M. ROOT, P.A.
                                       1931 Cordova Road, #303
                                    Fort Lauderdale, Florida 33316
                                (954) 986-2101 - amrootesq@gmail.com

                                             November 3, 2014

 VIA EMAIL. CERTIFIED                                      Timothy I. Sullivan
 AND REGULAR U.S. MAIL                                     Commissioner, District I
 Sheri Ff Gary Borders                                     315 West Main Street
 Lake County Sheriffs Office                               P.O. Box 7800
 360 West Ruby Street                                      Tavares, FL 32778-7800
 Tavares, FL 32778-3826
                                                           Sean Parks
 David W. Porter, Esq .                                    Commissioner, District 2
 Lake County Sheriffs Office                               315 West Main Street
 360 West Ruby Street                                      P.O. Box 7800
 Tavares, FL 32778-3826                                    Tavares, FL 32778-7800
 David.Porter@lcso.org
                                                           Jimmy Conner
 David Heath, County Manager                               Commissioner. District 3
 315 West Main Street                                      315 West Main Street
 P.O. Box 7800                                             P.O. Box 7800
 Tavares, FL 32778-7800                                    Tavares, FL 3277 8-7800

 Sanford A. Minkoff, Esq .                                 Leslie Campione
 County Attorney                                           Commissioner, District 4
 315 West Main Street                                      315 West Main Street
 P.O . Box 7&00                                            P.O. Box 7800
 Tavares, FL 32778-7800                                    Tavares, FL 32778-7800
 sminkoff@Jakecountytl .gov
                                                           Welton G. Caldwell
                                                           Commissioner, District 5
                                                           315 West Main Street
                                                           P.O. Box 7800
                                                           Tavares, FL 32778-7800

         Re:     Statutory Notice of Claim of Jacquelyn Johnston, pursuant to Florida Statutes §768.28
                 Claill1W1t's Date of Birth : Febrllary 5, 1982
                 Claimant's Social Security Number: XXX-XX-XXXX
                 Claimant's Place of Birth: Memphis, TN

 Dear Sheriff Borders, Messrs. Porter, Heath, and Minkoff,
 Commissioners Sullivan, Parks, Conner, Campione and Cladwell:

          Please be advised that this law finn represents Jacquelyn Johnston, regarding all claims for damages
 arising out of the several false and/or misleading statements made by or at the behest of Sheriff Borders
 and his staff immediately after the termination of Ms . Johnston from the Lake County Sheriffs Department
 on October J 0,2014 (''termination dale").


                                       COMPOSITE EXHIBIT "A"
Case 6:15-cv-00936-PGB-DCI Document 23 Filed 09/11/15 Page 31 of 43 PageID 206



          Th is letter shall serve as official noti fication of the clai ms for defamation, defamation per se and
 defamation by impl ication on behalf of Ms. Johnston pursuant to Florida'.$ Waiver of Sovereign Immun ity
 Statute, Fla. Stat. § 768.28. Please notify the undersigned within the statutory period whether you will
 accept or deny responsibility for these false and defamatory statements.

          This letter is not intended to constitute, nor shall it be deemed to constitute, a full statement of all
 facts, rights or claims relating to this matter, nor is it intended, nor should it be construed as a waiver,
 release or relinquishment of any rights or remedies available to my Client, whether legal or equitable, all
 of which are hereby expressly reserved.

         Based upon information and belief, there exists no prior adjudicated unpaid claim in excess of$200
 against Ms. Johnston.

        In the event you feel that this Notice does not comply with the statutory requirements of Florida's
 Waiver of Sovereign Immunity Law, please advise us of same, immediately.

         Should you have any questions, please do not hesitate to contact me directly.

                                                              Sincerely,


                                                               ~-43
                                                              Angelena M. Root
 cc:
 State of Florida
 Department of Fi nancial Serv ices
 200 E. Gaines Street
 Tallahassee, FL 32399-0300
:15-cv-00936-PGB-DCI       Document 23 COMPLETE
  SENDER: COMPLETE THIS SECTION         Filed 09/11/15
                                                THIS SECTION Page   32 of 43 Page
                                                             ON DELIVERY


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    so that we can return the card to you.                B. Recei    -   d by ( Printed Name)      C. Date of Delivery
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  1. Article Addressed to:                                                                                 ❑ No
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                 David W. Porter, Esq.
                'e County Sheriff's Office
                 360 West Ruby Street                     3. Service Type
               Tavares, FL 32778-3826                        ❑ Certified Mail        ❑ Express Mail
                                                             ❑ Registered            ❑ Return Receipt for Merchandise
                                                             ❑ Insured Mail          ❑ C.O.D.
                                                          4. Restricted Delivery? (Extra Fee)              ❑ Yes

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                                               THIS SECTIONPage   33 of 43 Page
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  ■ Complete items 1, 2, and 3. Also complete             A. Signature
    item 4 if Restricted Delivery is desired.                                    mit_t demajej 12rAgent
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    or on the front if space permits.                                     //)/q(   bnlai              // - 6       ly
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                                                              If YES, enter delivery address below:        ❑ No


                 Sheriff Gary Borders
              Lake County Sheriff's Office
                 360 West Ruby Street
               Tavares, FL 32778-3826                     3. Service Type
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                                                              ❑ Insured Mail       ❑   C.O.D.
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     (Transfer from service label)

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                State of Florida
        Department of Financial Services
              200 E. Gaines Street
         Tallahassee, FL 32399-0300                      3. Service Type
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        Restricted Delivery Fee
       (Endorsement Required)
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Fort Lauderdale, FL 33316
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                            Tallahassee FL 32399-0300
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Case 6:15-cv-00936-PGB-DCI Document 23 Filed 09/11/15 Page 37 of 43 PageID 212

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           item 4 if Restricted Delivery is desired.                                                                         ❑ Agent
         ■ Print your name and address on the reverse                      X
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           so that we can return the card to you.
                                                                           B. Received by ( Printed Name)            C. Date of Delivery
         ■ Attach this card to the back of the mailpiece,
           or on the front if space permits.
         1. Article Addressed to:
                                                                           D. Is delivery address different from item 1?     0   Yes
                                                                               If YES, enter delivery address below:         ❑ No

                        State of Florida
                Department of Financial Services
                      200 E. Gaines Street
                 Tallahassee, FL 32399-0300                                3. Service Type
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        2. Article Number                                       7003 1680 0000 2311 2455
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      For delivery information visit our website at www.usps.com




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     City, State, ZIP+4


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Case 6:15-cv-00936-PGB-DCI Document 23 Filed 09/11/15 Page 39 of 43 PageID 214



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                               David W. Porter, Esq
                               Lake County Sheriff's Office
                               360 West Ruby Street
                               Tavares FL 32778-3826
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Case 6:15-cv-00936-PGB-DCI Document 23 Filed 09/11/15 Page 40 of 43 PageID 215

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      item 4 if Restricted Delivery is desired.                         X                                               ❑ Addressee
    ■ Print your name and address on the reverse
      so that we can return the card to you.                            B. Received by ( Printed Name)           C. Date of Delivery
    ■ Attach this card to the back of the mailpiece,
      or on the front if space permits.                                                                                     Yes
                                                                        D. Is delivery address different from item 1?   ❑



    1. Article Addressed to:                                                If YES, enter delivery address below:       ❑   No




                  David W. Porter, Esq.
               Lake County Sheriff's Office
                  360 West Ruby Street                                   3. Service Type
                Tavares, FL 32778-3826                                      ❑ Certified Mail     ❑ Express Mail
                                                                            ❑ Registered         ❑ Return Receipt for Merchandise
                                                                            ❑ Insured Mail       ❑ C.O.D.
                                                                         4. Restricted Delivery? (Extra Fee)             ❑ Yes

    2. Article Number                                   7003 1680 0000 2311 2479
       (Transfer from service label)
                                                                                                                        102595-02-M-1540
    PS Form    3811,    February 2004                 Domestic Return Receipt
        U.S. Postal Service,.
PGB-DCI Document
   CERTIFIED     23 RECEIPT
             MAIL,  Filed 09/11/15 Page
        (Domestic Mail Only; No Insurance Coverage Provided)
       For delivery Information visit our website at www.usps.co m


rn
nJ
                      Postage
O
O                Certified Fee
                                                         Postmark
O         Return Reciept Fee
                                                           Here
      (Endorsement Required)
E3    Restricted Delivery Fee
c0 (Endorsement Required)

I-1
       Total Postage & Fees
Frl
O          To
O
N     Street, Apt. No.;
      or PO Box No.
      City, State, ZIP+4


      PS Form 3800, June 2002                    See Reverse for Instruction!
                                     CERTIFIED MAIL.
    Case 6:15-cv-00936-PGB-DCI Document 23 Filed 09/11/15 Page 42 of 43 PageID 217 $6.480
 Angelena M. Root, P.A.                                                          US POSTAGE
 193 I Cordova Road, #303                                                         FIRST-CLASS
Fort Lauderdale, Fl, 33316                                                   33316 NOV 03 2014 2
                                                                                  lerg;
                                                                                  XC• •   1 :




                                  7003 1680 0000 2311 2387




                                 Sheriff Gary S. Borders
                                 Lake County Sheriff's Office
                                 360 West Ruby Street
                                 Tavares FL 32778-3826
                                           ANI I 133.LLOO IV Glai 'SS311OCIV Nunias 3H1 3O
                                         IH0111 3W. 01 3d013AN3 AO d011V 1:13)131.1S 33r1d

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       SENDER: COMPLETE THIS SECTION                                      COMPLETE THIS SECTION ON DELIVERY

       ■ Complete items 1, 2, and 3. Also complete                        A. Signature
         item 4 if Restricted Delivery is desired.                                                                          ❑ Agent
       ■ Print your name and address on the reverse                       X
                                                                                                                            ❑ Addressee
         so that we can return the card to you.
                                                                          B. Received by ( Printed Name)            C. Date of Delivery
       ■ Attach this card to the back of the mailpiece,
         or on the front if space permits.
                                                                          D. Is delivery address different from tern 1?     ❑ Yes
       1. Article Addressed to:
                                                                              If YES, enter delivery address below:         ❑ No

                     Sheriff Gary Borders
                  Lake County Sheriff's Office
                     360 West Ruby Street
                   Tavares, FL 32778-3826                                 3. Service Type
                                                                              ❑ Certified Mail    ❑ Express Mail
                                                                              ❑ Registered        ❑ Return Receipt for Merchandise
                                                                              ❑ Insured Mail      ❑ C.O.D.
                                                                          4. Restricted Delivery? (Extra Fee)               1:1   Yes
      2. Article Number
         (Transfer from service label)
                                                            7003 1680 0000 2311 2387
     I PS Form   3811,    February 2004                Domestic Return Receipt                                            102595-02-M-1540 t
